Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 1 of 12 Pageid#: 2849
                                                                          CLERK'S OFFICE U.S.DIST.C'OtlRT
                                                                                 AT RCW NOKE,VA
                                                                                       FILED

                                                                                   M#ï 13 2218
                    IN TH E U N ITE D STATE S D ISTRICT COU RT
                   FO R T H E W EST ERN D ISTM CT O F W RGIN IA               JULI
                                                                                 A C.DUDLEX LERK
                                                                             BY;                   .
                                RO AN O IG D IW SIO N

 UN ITED STATES OF AM ERICA                )      Case N o.7:04-CR-0072-4
                                           )
                                           )
                                           )
 OTISANTONIO SM ITH,                       )      By:H on.M ichaelF.U rbansld
     Defendant                             )           ClziefUnited StatesDistrictJudge
                              M EM O RAN D U M O PIN IO N

        Otis A ntonio Snlith,represented by counsel,fûed a m otion to reduce his sentence

 ptzrsuanttoSecdon404$)oftheFirstStepActof2018.ECF No.826.Heasksthecourtto
 reducehiscurrentsentenceof262m onthsto 135m onths,butnotlessthan Hm eserved,which

 will result in his im m ediate telease. The govetnm ent asserts that Sm ith is ineligible for

 consideration ofa reducéon in his sentence,and in the alternative,thatifhe is eligible for

 consideration,a further reduction of his sentence is notwarranted.ln the eventthe court

 deternninesthatSnaith is enétled to a reducdon in his sentence,the governm entarguesthat

 the sentence should notbe less than the guideline range of188-235 m onthsfollowed by a;4-

 year tetm of superdsed release.For the teasons set forth below,the courtwill GRAN T

 Srnith'srequestin partand m odifyhissentence to 188 m onths,butnotlessthan tim e served,

 to be followed by a4-yearterm ofsuperdsed release.

                                     BA CKGR O U N D

        On O ctober 1,2004,Sm ith entered into a plea agreem entin which he pleaded g11111

 to conspidng to distributeandpossesswith intentto distribute50 gram sorm oreofam ixture

 containing adetectableamountofcocainebase,in violation of21U.S.C.j846.In exchange,
 thegovernm entagreed to disnaisstherem qining counts.ECF N o.206.O n O ctober18,2004,
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 2 of 12 Pageid#: 2850




 Snéth pleaded guz
                 'l in accordance M4Eh ïhe plea agzeem ent. ECF N os. 216, 217.The

governmenthad Sled anoéceofehhancementpursuantto21U.S.C.j851,butwithdrew the
 nodce pursuantto the plea agreem ent.ECF N os.187,268.

       Ptusuantto21U.S.C.j841(b)(1)(A)(2002),Snlith facedastatmorysentencingrange
 of10 yearsto life on the conspiracy charge.Accorcling to thePSR,Slnith wasresponsible for

 between 500 gram sand 1.5 kilogram s ofcocaine base.ECF N o.827.Under the sentencing

 gtlidelines,thatclrllg quanéty resulted in a base offense levelof 36.H e received a z-point

increase forpossessing a Srearm duting hisclfnng trafficking acdvidesand a 3-pointincrease

 forhisrolein theoffense.H ealso received a3-pointdecreaseforacceptance ofresponsibility,

 fora subtotaloffense levelof38.

       H owever,because Snaith had tavo prior felony Htnxg convicéons wllich m ade lnim a

 careeroffender,hisbaseoffenselevelwas37.U.S.S.G.j4B1.1(a).When the3-pointdecrease
 for acceptance oftesponsibilityw as applied,his subtotaloffense levelw as34.N evertheless,

 becausethe subtotaloffenselevelbased on cltnlg weightw as38,histotaloffenselevelwas38.

 U.S.S.G. j4B1.1(b).Coupled with a criminal llistory category of VI, Srnith's guideline
 sentencing rangewas360 m onthsto life.U .S.S.G .Ch.5,Pt.A .

       On July 7,2005,Snnith wassentenced to a 360-month term ofimpzisonmentto be
 followed by a s-yeatterm ofsuperdsed release.ECF N o.381.ln 2008,Snaith'ssentencewas

 reduced to 292 m onths as a result ofA m endm ents 706,711, and 715 to the sentencing

 guidelines.In 2011 itwas reduced to 262 m onths as a result of Am endm ent 750 to the
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 3 of 12 Pageid#: 2851




gtzildelines.ECFNo.828.Srnithhasserved176monthsandhiscurrentptojectedreleasedate
isJune30,2024.Id.
         Snaith seeksreliefundertheFirstStepA ct.H earpaesthatbecausehispriorfelony drug

 convictionsw ezeclisnaissed,heisno longeracareeroffender,which resultsin agaidelinerange

 of135-168m onths.In thealternaéve,hearguesthatevenwit.h thecareeroffenderdesignation,

 his new gtzideline zange is 188-235 m onths and he asksthe courtto m odify llis sentence to

 188 m onths.

 1.FirstStep Act

         Atthe dme Snnith was sentenced,aviolaéon ofj 841(a)(1) catried a mandatory
lninim um sentence of10 yearsand a m avim um sentence oflife im prisonm entifthe offense

involved m ore than 50 gram s of cocaine base,and a penalty zange of 5 to 40 years ifthe

 offenseinvolvedmorethan5gramsofcocainebase.21U.S.C.j841@)(1)(A)and(B)(2002).
 In 2010,the FG Sentencing Actwaspassed,and Section 2 ofthe A ctreduced penaldesfor

 offensesinvolving cocainebaseby increasing the thteshold drug quantitiesrequired to tzigger

 mandatoryminimum sentencesundet21U.S.C.j8419$(1).FG SentencingActof2010,Pub.
 L.No.111-220,j2,124 Stat.2372 (2010).Curzently,in orderto triggerthelo-years-to-life-
 sentencing range,theoffensem ustinvolvem orethan 280g'
                                                      ram sofcocainebase,and to ttigger

 the 5-to-40-year sentencing range,the offense m ustinvolve m ore than 28 gzam s ofcocaine

 base.

         The FirstStep Actw aspassed on D ecem bez21,2018.Secéon 404 ofthe actpetvnits

 a court,upon m otion ofthedefendantorthegovernm ent,orupon itsown m otion,to im pose
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 4 of 12 Pageid#: 2852




 areduced sentence forcertain offensesin accordancewith theFairSentencing Actof2010,if
                                                                 .




 such areducéon wasnotpreviously granted.O ffensesqualify for the reducdon ifthey were

 com m itted beforeA ugust3,2010 and carry the stam tory penaltieswhich were m odihed by

 secéon 2 or3 ofthe FairSentencing Actof2010.FirstStep Actof2018,Pub.L.N o.115-

 015,132Stat.015(2018).
       The governm entarguesthateven though Snaith was sentenced priorto enacr entof

 the Fair Sentencing Actof2010,and even though llisoffenses carry the statutory penalées

 which w ere m odified by Secdon 2 or 3 oftheFairSentencing A ct,he doesnotqualify for a

 sentence reducéon.The governm entassertsthatitisthe drug weightforwllich a defendant

 is held responsible and not the cltnlg weight for which he was convicted that dete= ines

 eligibility for First Step Act relief and that Snlith's Htnlg quantity in the Presentence

 lnvestigaéonReport(PSR)makeshim ineligible.Inthealternadve,thegovernmentcontends
 thateven ifSmith is eligible for a m odihcation ofhis sentence,the courtshotzld exercise its

 discredon and decline to reducethesentence.

 II.D rug W eight

       The governm entasserts thatwhether a defendantis entitled to reliefunder the First

 Step Actdependson the am ountofcocaine base forwhich hew asfound responsible in the

 PSR,rather than the am ountforwlnich he wasindicted and convicted.Because Smith was

 found responsibleforbetween 500 gram sand 1.5 kilogram son the conspiracy charge,which

 wouldmakellim subjectto the21U.S.C.j841(a)(1'
                                             )(A)penalées,thegovernmentarguesthat
 heisnotentitled to reliefundertheFirstStep A ct.
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 5 of 12 Pageid#: 2853




       Srrlith respondsthatthe dzug weightisan elem entoftheoffense and thatany factthat

increasesam andatory rninim um penalty isan elem entthatm ustbe charged in an indic% ent

 andprovedtoajurybeyondateasonabledoubt,cidngApprendiv.Newlersey,530U.S.466
 (2000)andAlle nev.UnitedStates,570U.S.99(2013).Underthosetwocases,ifSmithwere
 sentenced today,lais sentence w ould be based on distribuéng 50 gtam sor m ore ofcocaine

base,and not500 gram sto 1.5 kilogram sofcocaine base.

       ln A   rendi,the Suprem e Courtheld thatthe Sixth Am endm entto the Constitudon

requires thatany factthatincreasesthe penalty for a crim e beyond the prescribed statutory

maximum,otherthan thefactofapriorconviction,mustbesubmitted to ajury and proved
beyond a reasonable doùbt.In Alle ne,the Courtapplied A     rendito the federalm andatory

nlirlim um and m axim um sentencing schem e and held that because m andatory minim um

 sentencesinczeasethe penalty fora crim e,any factthatincreasesthem andatory rninim um is

 an elementofthecrimethatmustbesubnaitted to thejuty.Ld.
                                                       aat116 (overmlingHarrisv.
 United States,536U.S.545(2002)).
       Thegovernm entargues,correctly,thatneitherA       rendinorAlle ne areretroacdvely

 applicableoncollateralreview.SeeUnitedStatesv.Sanders,247F.3d 139,146(4th Cir.2001)
 (oining other citcuitsin fincling thatA rendidoes not apply retroacévely to cases on
 coEateralreview);andUnitedStatesv.Stewart,540Fed.Appx.171(4t.
                                                             hCit.2013)(percudam)
 (noting thatAlle nehasnotbeenmaderetroactivelyapplicableto caseson collateralreview).
 The governm entthen arguesthatforaperiod oftim e afterA      rendiwasdecided,including

 beforepassageoftheFairSentencingActin 2010,thejuryordinarilymadeafindingregarding
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 6 of 12 Pageid#: 2854




 the threshold penalty, but the cokut could and did im pose statutorrm inim um penaldes

 regardlessofany jury finding.Thatpracdcewasauthorized by Hards,and Alle ne did not
 overrale H arris untilthree years later, and three years after the FG Sentencing A ct was

 enacted.

       The governm entcontendsthatnothing in the FitstStep A ctsuggests thatCongress

 intended to adopta differentm ethodology,and thatthe actonly directsthe courtto exsm ine

 a sentence asifSections2 and 3 oftheFG Sentencing A ctw ere in effectattheém e,and not

 to change them annerofdete= ining quantity.In essence,.thegovernm entisasldng the court

 to apply the holding in H arris and disregard Alle ne w hen examining Smith's sentence.

 H owever,Congress,when drafting theFirstStep Actin 2018,surely did notintend forcourts

 toclisregard thelastsixyearsofSupremeCourtfederalsentencingjutisprudenceandthiscourt
 declinesto do so.

       Alle nem adeclearthatin orderto preservea defendant'sSixth Am endm entrightto a

 jurytrial,anyfactthatincreasesthestat-utorymandatorynainimum sentenceisanelementof
 thecrimewhichmustbesubmittedtothejury.Allene,570U.S.at116.Srrlithpleaded/1111
 to conspiracy to distributeand possesswith intentto distribute 50 gram sorm ore ofcocnitne

 base.UnderA lle ne,thiscourtisnotfree to ignore thatfm cling and im pose a penalty based

 on the 500 gram s to 1.5 kilogram s of cocaine base referenced in the PSR.Thus,although
                                                                  N
 A   rendiand Alle ne are notrettoacdvely applicable on collateralreview,this court J
                                                                                    .oins

 othercourtsin finding thattheirholdingsare applicablein the contextofthe FirstStep A ct.

 SeeUnitedStatesv.Brown,Nb.07-354(1),2019W L 1895050at*2 (D.Minn.April29,2010)
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 7 of 12 Pageid#: 2855




 (fincling thateligibilityundertheFirstStep Actisdeterrnined bylooldng atthe stat-ute of
 convictionandnotthedefendant'sconduct);UnitedStatesv.Sim ons,No.07-CR-00874,2019
 W L1760840at*6(E.D.N.Y.Apr.22,2019)(ciéngAlle neandfindingthatstataztorypenalées
 aredeterminedbyfactssubrnittedtoagrandjury,ttialjury,orestablishedbyaguiltypleawhile
 findingsby ajudgemay beusedto determineasentencewithin thestatutorypenaltksand
 cannotchangerfthemandatoryrninimum sentencenow applicable');United Statesv..D odd,
 No.3:03-CR-18-3,2019W L 1529516(S.D.Iowa,Apr.9,2019)(finclingin aFirstStepAct
 casethat(Kgblot.
                hA rendiandAllenearebindingontiisCourtforsentencingsheldtoday.7);
 United Statesv.Davis,No.07-CR-245(S)(1),2019WL 1054554 (W .D.N.Y.Mat.6,2019),
 a ealdocketed,No.19-874 (2nd Cir.Apr.5,2019)rfgljtisthestatuteofconvicéon,not
 acmalconduct,thatcontrolseligibilityunderthe FitstStep Act.7);seealso Utlited Statesv.
 La erre,No.5:02-CR-30098-3,2019W L 861417(W .D.Va.Feb.22,2019)(relyingwithout
 discussiononchargeddmgweightraiherthanPSRweighttofinddefendanteligibleforrelief).
 111.D iscretion ofthe Court

       The governm entargpesthatifthe cotzrtfindsSrnith eligible for consideration under

 theFirstStep Act,thatitshould exerciseitsdiscretion to deny him relief,in lightofthe drug

 weight.Itclcim sthatifSnnith had been pzosecuted afterpassage ofthe FairSentencing A ct,

 hewouldhavebeenpzosecutedforpossessionofatleast280gzamsofcocainebase,subjecting
 him to thelo-years-to-lifesentencing rangefound in 21U.S.C.j841@)(1)(A).
       This appeazs to be the approach taken by the cotzrtin United Statesv.H a nes,N o.

 8:08-CR-441,2019WL 1430125@ .Neb.,Mar.29,2019),a ea1docketed,No.19-1701(8t1a
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 8 of 12 Pageid#: 2856




 Ciz.Apr.4,2019).There,adefendantwasindictedandpleaded/1.
                                                        111 topossessionw1t.
                                                                           11intent
 to dezver 5 gzanas ot naote of cocdne base.In the plea agzeenaent,he agteed to be held

 responsible for20-35 gram sofcocaine base,and thePSR said hewasresponsible foratleast

 oneounce(28.35grams)ofcocainebase.I.
                                    dz.at*1.HesoughtrelieftmdertheFirstStepAct
 based on hisplea ofguiltto the5 gramsofcocninebase.Jd.sat*2.Thecouttdenied relief,
                                                          -




 fincling thatif the Fair Sentencing A ct had been in effect at the tim e the defendantwas

 indicted,thegovernmentwouldhavechargedhim under18U.S.C.j841@ (1)(B)@).
       TlnisapproachwasrejectedbythecourtinDodd,2019W L 1529516at*3.'Fhere,the
 courtfound thatsuch aspeculadvecbim isinsufhcientand thatm any thingsmighthavebeen

 differentatthe tim e the defendantwasindicted and tried.The couttwasunwilling to engage

 in ffa series ofhypotheticalsaboutw hatm ighthave happened had aspects ofthe case been

 fundam entally altered.''Id.See also United States v.Pierre,   F.supp.3d     ,2019 W L

 1495123(D.R.I.Apr.5,2019)Soldingthatindete= iningeligibilityundertheFirstStepAct,
 courtshould look to whetherthe offense ofconvicéon wasm odified by the FaitSentencing

 Act of2010 and should notdelve into the particulars ofthe record to detetm ine how the

 defendantcomm itted the offense ofconvicdon or how the factswould have hypothedcally

 affected thechargesbroughtunderthenew statutory schem e).
       Thiscotutfinds thereasoning in D odd and Pierrepersuasive.W hileitispossiblethat

 thegovernmentwould haveproceeded againstSrnit.hunder18U.S.C.j841$)(1)(A),italsois
 possiblethatitw otzld havedecided notto do so.Thegovernm entcould havedete= ined that

 evidencew asinsufficientto prove the quantity beyond a reasonable doubt,otifitdid indict
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 9 of 12 Pageid#: 2857




 him on thatam ount,theparéesmighthave entered into aplea agreem entinvolving lessthan

 280 gram sofcocaine base.The retroacdve asslpm ption suggested by the governm entsim ply

 is too speculadve a basison which to determine Srnith'seligibility for a sentence reducéon.

 Thus,this court declinesto assum e thatSm ith would have been charged and convicted of

 possessing m ore than 280 gram sofcocainebaseifthe FairSentencing Acthad been in effect

 atthe tim e he wasconvicted.

       The governm entfurther arguesthata reducéon in Sm ith'ssentence would conséttzte

 anunjustifiedwindfalltohim baseduponthedateoflnisprosecuéonandoffendstheneedto
 avoid unwarranted sentence disparitiesam ong sim ilarly situated offenders.Tlaisargum entis

 based on the governm ent'sprevious argum entthatin casesbroughtafterthe passage ofthe

 FairSentencingActbutpriortoAlle ne,jurieswereasked tomakequandtydeterminadons
 based on that act's new thresholds for purposes of establislning applicable statutory

 m axim um s,and courtscould and did im posehigher statm ory minimum sbased on theirown

 conclusionsregarding drug quandty.

       The governm ent appears to be arguing thattllis colzrt should ignore 130th the plain

 languageoftheFirstStep Actzegatdingw ho iseligible forasentencereducdon aswellasthe

 holding in Alle ne because other defendants sentenced within that three-yea: window m ay

 havebeen subjectto longerstataztoryminimtzm sentences.W hilethecourtisawareoftheneed
 for consistent sentences am ong defendants, it is not free to ignore either the law or

 constittztionalprecedent.A sdiscussed above,thiscourtfindsthatthe FirstStep A ctapplies

 to Sm ith and findsthatitis com peEed by A2e ne to look only atthe am ountofdmAgs fot
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 10 of 12 Pageid#: 2858




 which Smith was indicted and found guilty when detetnlining whether he is enétled tö a

 sentence reduction.Accordingly,thiscourtwillnotrefrain from m odifying Srnith'ssentence

 underthe FirstStep A ctbecause otherdefendantsm ay havebeen sentenced differently.

 1V .Career OffenderGuideline

        Srnith'sdesignation asa careeroffenderisbased on t'wo prior felony convicéons for

 possessing a controlled deadly substancewitlain 1,000 feetofschoolpropertywith theintent

 to distdbute,and disttibuéon ofa conttoEed deadly substance within 1,000 feetof school

 pzoperty.ECF No.827 at!! 82,90,91,94.Smith subrnitted evidencethaton October28,
 2010,the charges in those casesw ere disnlissed.ECF N o.826-1.Thus,he argues that he

 should no longerbe considered acareeroffenderand thatlzissentence should beadjusted
 accordingly.

        The governm entcontendsthatdespite the docum entation showing the chargeswere

 disnaissed,Slnith had pleaded guilty to the charges and then absconded.ECF N o.828 at6.

 Thegovernm entflztthercontendsthatSnnith rem ainsacareeroffenderbecause the FirstStep

 Actdoesnotauthorize the courtto reexanninethe careeroffendergaideliné orconducta full

 resentencinpl


 1Thegovem m entarguesthata /11resentencing isforeclosed byD illon v.United States,560 U.S.817,824-
 26(2010),wheretheSupremeCourtfoundthatfullsentencingrehearinp arenotauthorizedbyretroacdve
 guidelinereductions.Thecourtdoesnotreach thisargum entbecauseitfmdsthatthereisno need to do so in
 thiscase.Thecourtw.illconsiderthej3553(a)factors.SeeUnitedStatesv.Davis,679F.3d190(4f.
                                                                                      hCir.
 2012)(holdingthatinthecontextofaRule35$)motion,adistrictcourtcanconsiderj3553(a)factors).See
 alsohtms://-    .ussc.gov/sites/default/fzes/pdf/taiing/newsletters/zolg-speciz-Fx T-sTEp-Act.pdf
 qastviewedApril29,2019)(notinginnewsletterfrom theUnitedStatesSentencingCommissionthatcourts
 willhave to decidewhetheraresentencing undertheActisaplenaryresentencingproceecling ora more
 limitedresentencingandstadngTqn eitherinstance,theActmadeno changesto18U.S.C.j3553(a),so the
 courtsshouldconsidertheguidelinesandpolicystatements,alongwithother3553(a)factors,dllringthe
 resentencinp'')
                                                 10
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 11 of 12 Pageid#: 2859




        The courtfindsitunnecessary to resolve theissueofwhetherSrnith isstillconsideted

 acareeroffendetforpum osesofm odifying hissentenceunderthe FitstStep Act.Thepatdes

 agree thatifSnaith isstillconsidered a career offender,and iftheguidelinerangeiscalculated

 based on 50 gram sofcocaine base,llis statutory m andatorym inim tzm sentencewould be 10

 yearsand l'
           lissentencing guidelinerungeis188-235m onths.zIfSnait.h isnotconsidered acareer

 offender,hisguidelinerangeis135-168m onths.3BecauseSmith hasserved approxim ately 176

 m onths,m odificaéon ofSrnith's sentence to the bottom ofeither guideline range restzltsin

 hisim m ediate release when hisgood conducttim eisfactored into lais sentence.

        Thecotutfmdsthatithasauthorityunder18U.S.C.j3582(c)(1)(B)tomodifySnaith's
 sentence,takinginto accounttheconsiderationssetforth in 18U.S.C.j3553($.Had Snnith
 been sentenced afterpassage oftheFairSentencing A ct,an appropriate sentencewould have

 been 188 m onths,followed by a4-yearterm ofsuperdsed release.A sentenceof188m onths

 isthebottom ofthe sentencing range and cottespondsto the360-m onth sentencewhich was

 thebottom oflàisoriginalsentencing tange.

        The courthasreviewed Snnith'sPSR,theaddendum to thePSR,and the argum entsof

 thepartiesand fmdsthatunderthecutrentSentencing Guidelinesand the18U.S.C.j3553
 factors,a sentenceof188m onths,butnotlessthan tim e served,iswarranted.Thecotutfinds

 thata sentence of188 m onthsissufhcient,butnotgreaterthan necessaty,and accounts for


 2Theoffenseofconvictionisnow consideredaviolationof21U.S.C.j8419$(1)7),whichcarriesamaximum
 penalty of40 years,m aking his careeroffenderbase offense level34.Subtracdng 3 levelsfor acceptance of
 responsibility resultsin a totaloffense levelof31,which wit.h a criminalhistoc categoc ofVI,resultsin a
 guidelinerangeof188-235m onths.U.S.S.G.Ch.5,Pt.A.
 3Withouttheca
             ieeroffenderdesignadon,Smith'stotaloffenselevelis31andlziscriminalhistotycategoryis
 111,wllich resultsin a sentencingrangeof135-168 m onths.Id.
                                                    11
Case 7:04-cr-00072-MFU Document 835 Filed 05/13/19 Page 12 of 12 Pageid#: 2860




 the sentencingfactorsthecourtmustconsiderpuzsuantto 18U.S.C.j3553($,specifkally
 deterrence,protection ofthepublic,and respectforthelaw.Accordingly,thecout.tGR AN TS

 in partSnaith'sm otion underthe FirstStep Act,ECF N o.826,and reduces lnis sentence to

 188m onths,butnotlessthan tim e served.

       AnappzopriateOrderandamendedjudgmentwillbeentered.Theorderwillbe
 stayed fot 10 daysto givetheBureau ofPrisonsan opportaznityto processSnlith'srelease.




                                     Entezed: 0 .6
                                                 ,,
                                                  --/.
                                                     9- ./)
                                  #./ 4,   rZn.-7 . F -'Z>'.            .




                                        M ichaelF. rbanski            ..
                                        ChiefU nited StatesD istrictJudge




                                           12
